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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DISTRICT

      MICHAEL GONIDAKIS, ET AL.                    :   CASE NO. 2:22-CV-773
                                                   :
            PLAINTIFFS                             :   CHIEF JUDGE ALGENON L.
                                                   :   MARBLEY
      VS.                                          :
                                                   :   CIRCUIT JUDGE AMUL R.
      FRANK LAROSE,                                :   THAPAR
                                                   :
            DEFENDANTS.                            :   JUDGE BENJAMIN J. BEATON

       SIMON PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER,
         PRELIMINARY INJUNCTION, PARTIAL SUMMARY JUDGMENT, AND
               IMMEDIATE APPOINTMENT OF A SPECIAL MASTER

             In accordance with the provisions of Federal Rules of Civil Procedure 53, 56 and

      65, Plaintiffs, the Honorable Kenneth L. Simon, the Honorable Lewis W. Macklin, II and

      Helen Youngblood, (hereinafter “the Simon Parties”), respectfully move this Honorable

      Court for an immediate order enjoining Defendants, their agents and successors in office,

      and all persons acting in concert with them from administering, implementing, or

      conducting any election for representative for the 33rd Ohio Senate and 59th House District

      under the proposed Ohio General Assembly Districting Plan approved by the Ohio

      Redistricting Commission on March 28, 2022, Exhibit A. Plaintiffs also move to enjoin

      election for the 6th United States Congressional District proposed on March 2,2022, Exhibit

      B. Plaintiffs hereby further seek an immediate order under Fed. R. Civ. P. 53 appointing

      a special master to assume control of the Ohio redistricting process, to assure compliance

      with Ohio and federal law and to expedite completion of the redistricting process in a

      manner to avoid further election chaos attributable to willful violation of law by Defendants

             The exceptional step of the appointment of a master should be taken for the reason

      Defendants have intentionally ignored their duty under 52 U.S.C. §10301, et seq. to
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      consider racial demographics and to consider whether the totality of circumstances

      applicable to proposed districts results in the political processes leading to nomination or

      election not being equally open to participation by Plaintiffs’ putative class and whether

      they have less opportunity to elect representatives of choice. The districts proposed by

      Defendants unlawfully dilute the voting strength of plaintiffs’ putative class.

             In this case Defendants consciously ignored the VRA. They also ignored the

      opinion in Armour v. Ohio., Exhibit C, which documents a history of intentional racial

      discrimination in redistricting by the State of Ohio in Plaintiffs geographic area and

      evidence of continued racially polarized voting. The testimony of defendants chief map

      maker , Mr. Di Rossi, at Exhibit E and the comments of President Huffman and Speaker

      Cupp at Exhibit F, and proof that Defendants failed to comply with the VRA and have as

      a result drawn district maps that dilute the voting strength of Plaintiff’s putative class aside

      from violating state law.

             A Memorandum in support of this motion, Proposed Order and Exhibits are

      attached.

                                                     /s/ Percy Squire_________________
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                                            MEMORANDUM

          A. INTRODUCTION

              Ohio now faces electoral chaos and Plaintiffs’ voting rights will be injured

      irreparably unless drastic steps are taken to supervise the redistricting process. Ohio

      officials refuse to abide by State and federal law For this reason given the fourth failure by

      Defendants to comply with federal law,. Plaintiffs respectfully move for an immediate

      order enjoining any election being conducted under the proposed Ohio 33rd Senate District,

      59th Ohio House District and 6th U.S. House district because the districts violate the Voting

      Rights Act. Plaintiffs have also alleged that the challenged districts violate the 14th and

      15th Amendments but move for an injunction in relation to Plaintiffs’ statutory VRA

      challenge only at this juncture. Plaintiffs seek an order that the date for 2022 elections, now

      scheduled to begin May 3, 2022, be enjoined until 30 days after a ruling on this motion, to

      allow Defendants time to develop and implement remedial Ohio Congressional and

      General Assembly plans that correct the VRA violations raised in this motion. Defendants

      have had four chances to follow the law but have refused.

              A temporary restraining order should be issued because: (1) Plaintiffs are likely to

      prevail on the merits in this action; (2) Plaintiffs will suffer irreparable harm during the

      pendency of this action if this relief is not granted; (3) the balance of equities strongly favor

      Plaintiffs'; and (4) an injunction is in the public interest. In support of this Motion, Plaintiffs

      submit (i) a Memorandum in Support of this Motion; and (ii) Exhibits A —F (iii) an Exhibit

      List describing the exhibits submitted in support of the Motion; and (iv) a Proposed Order.

      Plaintiffs request oral argument on their motion for temporary restraining order.

          B. BACKGROUND




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             Plaintiffs in this action have filed an intervenor complaint that alleges five members

      of the Ohio Redistricting Commission and the Redistricting Commission intentionally

      violated Section 2 of the Voting Rights Act 52 U.S.C. §10301, et seq in connection with

      the proposed configuration of Ohio General Assembly District. Plaintiffs have further

      alleged that Defendant State of Ohio and the Ohio General Assembly also violated §2 of

      the VRA in connection with the proposed configuration of the 2021 Congressional Plan

      for the 6th Ohio Congressional District. Plaintiffs allege that the General Assembly Plan

      as proposed unlawfully dilutes Plaintiffs’ voting strength through districting by separating

      Mahoning from Trumbull County into the 33rd Senate District and separating the cities of

      Youngstown, Campbell and Struthers in the 59th House District. The 6th Congressional

      District dilutes Plaintiffs voting strength by submerging Plaintiffs into a racially polarized

      voting block of voters located in several racially polarized voting counties south of

      Mahoning County. Although, it is not the subject of this motion, Plaintiffs’ complaint also

      alleges that the use of at large elections in Mahoning County, Ohio violates federal

      statutory and Constitutional standards. At large elections are not the subject of this motion.

             Plaintiffs’ motion should be granted as a threshold matter in this action for the

      reason Defendants have stated publicly that the challenged districts were configured

      without any regard whatsoever to whether the proposed districts impair Plaintiffs’ ability

      to participate equally in the electoral process and elect representatives of choice.

      Defendants, despite the clear admonitions of the VRA that no voting…standard practice or

      procedure shall be imposed in a manner that dilutes Black voting strength and the historical

      findings set forth by this Court in Armour v. Ohio, 775 F. Supp. 1044 (6th Cir. 1991)

      concerning the role of race in elections in Mahoning County, Ohio, adopted a wholesale




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      policy of ignoring racial demographics in Mahoning County elections1. An injunction

      should be issued for the reason Defendants conduct here violates the clear instruction of

      the United States Supreme Court concerning the procedure that should be followed to

      comply with §2 of the VRA. See, Thornburg v. Gingles, 478 U.S. 30 (1986).

               In Thornburg, the United States Supreme Court stated both amended §2 and its

      legislative history make clear, in evaluating a statutory claim of vote dilution through

      districting, courts, and implicitly legislative bodies configuring legislature districts, must

      consider the "totality of the circumstances" and determine, based "upon a searching

      practical evaluation of the past and present reality,' S. Rep. at 30 (footnote omitted),

      whether the proposed structure results in the political process being equally open to

      minority voters. "'This determination is peculiarly dependent upon the facts of each case,"'

      Rogers, supra, at 621, quoting Nevett v. Sides, 571 F.2d 209, 224 (CA5 1978), and requires

      "an intensely local appraisal of the design and impact" of the contested electoral

      mechanisms. 458 U.S. at 458 U. S. 622. The issue underlying this motion is whether

      Defendants violated §2 and Armour by totally disregarding race when they configured the

      districts challenged here. The clear answer to this question is yes. Accordingly, judgment

      should issue preliminarily enjoining the use of the challenged districts and granting partial

      summary judgment in relation to the question of whether Defendants violated the VRA by

      intentionally ignoring the totality of circumstances and the 15th Amendment by ignoring

      the VRA intentionally.

          C. DEFENDANTS’ POLICY CONCERNING ROLE OF RACE CONTRARY
             TO LAW
      1
        [R]edistricting legislatures will almost always be aware of racial demographics, but that sort of race
      consciousness does not lead inevitably to impermissible race discrimination. See, Shaw v. Reno, 509 U.S.
      630, 646. Here defendants configured districts without any consideration of racial demographics and
      therefore drew districts that failed to take into account historical and previous judicial findings of racial
      block voting..


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             In order to comply with the VRA the redistricting process must take into

      consideration whether a white "majority votes sufficiently as a bloc to enable it…usually

      to defeat the minority's preferred candidate." Thornburg v. Gingles, 478 U.S. 30, 51 (1986).

      Here, Plaintiffs provided evidence to Defendants demonstrating that consideration of race

      were necessary to comply with the findings in Armour to prevent "retrogression in respect

      to Plaintiffs’ ability…to elect their preferred candidates of choice.'" See, Alabama

      Legislative Black Caucus v. Alabama, 135 S. Ct. 1257, 1263 (2015) (quoting 52 U.S.C. §

      10304(b)). Defendants here stated explicitly that they made a policy level decision to

      completely disregard race and whether the proposed districts impair the rights of Black

      Mahoning County voters or takes into account their findings in Armour historical.

             The Voting Rights Act violations complained of herein were not innocent mistakes.

      Defendants were fully aware of their duties under the VRA, but conspired to intentionally

      violate the previous ruling of this Court in Armour and the clear language of Section 2 in

      favor of partisan political advantage. Defendants intentionally discriminated by ignoring

      Armour’s 15th Amendment findings and failed to follow federal VRA methodology, which

      specifically harmed Plaintiffs’ class in Mahoning County, but also generally diluted Black

      voting power across Ohio.

             The specific intentional conduct of Defendants complained of herein should operate

      to invalidate the challenged plans because, despite having been advised of the findings of

      this Court in Armour concerning historical racial discrimination and the duty under the

      VRA to engage in an intensely local appraisal of indigenous political reality in Ohio and

      Mahoning County and the totality of circumstances test set forth in the Senate Report

      enacting Section 2, Defendants gave specific instructions to their staff responsible for the



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      drawing of district maps to disregard race, racial bloc voting or any other racial

      consideration in connection with district configuration.. (See, Exhibit D for input provided

      by Plaintiffs to Defendants during redistricting.)

             Further, support for this assertion is found in the following exchange that occurred

      during hearings before the Ohio Redistricting Commission on September 9, 2021.

             Ray DiRossi: Urn, [00:03:30] I am Ray DiRossi and as was mentioned, I'm
             from the caucus staff for the Senate Majority Caucus and my colleague
             Blake Springhetti, caucus staff for the Ohio House Majority Caucus. Urn,
             co-chairs and distinguished members of the Redistricting Commission, it's
             great to be with you today.

             Sykes:         Uh, thank you to the co-chairs and to Mr. Springhetti and
             Mr. DiRossi. Thank you, uh, for the work that you put together, uh, put, so
             you could present to us to get, today. Excuse me. Uh, my question is specific
             to, urn, how this current map complies with, uh, any provisions of the
             Voting Rights Act and what provisions of the Voting Rights Act [00:22:30]
             d- did you consider in constructing this map that you presented, or these
             maps that you presented today?

             Ray DiRossi: Co-chairs, Leader Sykes, thank you for the question. We did
             not use demographic data or racial data in the production of our maps.
             Sykes: Any follow up.

             Vernon Sykes: Yes, please.

             Sykes:         Thank you for answering the question. Uh, so are there any
             provisions of the Voting Rights Act in which you considered while you
             drew the, or while you drew these maps [00:23:00] before us today?

             Ray DiRossi: I guess I would ... Co-chairs I guess I would say it on my
             previous statement, we did not use racial data or demographic data for the
             map, but we feel that the map complies with all the provisions of the Ohio
             Constitution.

             Sykes: Thank you. Uh, I appreciate your answer, and I, I certainly
             appreciate the brevity of it. Uh, can you explain why you didn't consider
             any parts of the Voting Rights Act in your consideration of these maps
             [00:23:30] before us today?

             Ray DiRossi: Well, I said we didn't consider racial data or demographic
             data in our maps, but we were directed not to use that data by the legislative
             leaders, and so we did not use it.

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             Audience:       (laughs)

             Vernon Sykes: Yeah. [inaudible 00:23:46].

             Sykes:           So I, I would count myself as a legislative leader and I don't
             think that I shared that information with you and I, this is not an ambush,
             this is simply a question. The Voting Rights Act is certainly, uh, a part of
             our, uh, [00:24:00] election and electoral fabric. Uh, and so really just trying
             to get a better idea of how we are, or not in compliance with that, with these
             maps. So, urn, hopefully we can have some deeper conversations about that,
             but, but again, thank you for your responses.

             Ray DiRossi: Thank you.

      See, Exhibit E, DiRossi Transcript, pp. 789-790. Also see, Exhibit F for comments by

      President Huffman and Speaker Cupp concerning refusal to consider racially polarized

      voting and racial demographics.

             This testimony is clear evidence that the legislative leadership in Ohio intentionally

      disregarded whether the proposed districts diluted Black voting strength or the existence

      among other things, of racial block voting.

             According to Mr. DiRossi, the lead representative for defendants in the redistricting

      process, the Defendants intentionally decided to ignore race, and the Voting Rights Act,

      but also previous judicial findings of official racial discrimination in legislative districting

      in Ohio. The approach to redistricting followed the Defendants, results in vote dilution,

      because it ignores preexisting judicial findings in Armour of racial block voting and the

      Senate Report factors discussed in Armour.

         D. VOTING RIGHTS ACT

             Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301, prohibits voting

      practices and procedures that discriminate on the basis of race, color, or membership in a

      language minority group. "The essence of a § 2 claim is that a certain electoral laws,



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      practices, or structures interact with social and historical conditions to cause an inequality

      in the opportunities enjoyed by protected voters to elect their preferred representatives."

      Gingles, 478 U.S. at 47. Defendants failed to determine whether the proposed districts

      caused inequality despite a permanent injunction from Armour and the duty to consider the

      totality of circumstances. This threshold failure by Defendants warrants the entry of

      summary judgment on Plaintiffs’ VRA claim.

         E. SUMMARY JUDGMENT IN SECTION 2 LITIGATION

             Summary judgment is warranted where "the movant shows that there is no genuine

      dispute as to any material fact and the movant is entitled to judgment as a matter of law."

      Fed. R. Civ. P. 56(a); accord Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).

      In deciding whether there is a genuine issue of material fact, the court must draw all

      justifiable inferences in the nonmoving party's favor and accept the nonmoving party's

      evidence as true. Anderson, 477 U.S. at 255. To determine which facts are "material," a

      court must look to the substantive law on which the claim rests. Celotex Corp. v. Catrett,

      477 U.S. 317, 322 (1986). A "genuine issue" is one whose resolution could affect the

      outcome of the action. Id. In the absence of a genuine issue of material fact, the court may

      enter judgment against the movant if the non-movant is entitled to judgment as a matter of

      law. See, e.g., Employers Ins. of Wausau v. Petroleum Specialties, Inc., 69 F.3d 98, 104

      (6th Cir. 1995); Markva v. Haveman, 168 F. Supp. 2d 695, 706-07 (E.D. Mich. 2001).

             In Section 2 cases, summary judgment usually "presents particular challenges due

      to the fact-driven nature of the legal tests required by the Supreme Court." Ga. State

      Conference of NAACP v. Fayette Cty. Bd. of Comm'rs, 775 F.3d 1336, 1348 (11th Cir.

      2015). Because district courts must conduct "a searching practical evaluation of the past

      and present reality" in a jurisdiction, Gingles, 478 U.S. at 79, and a "comprehensive, not

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       limited, canvassing of relevant facts," De Grandy, 512 U.S. at 1011, summary adjudication

       is rarely possible, see, e.g., Metts v. Murphy, 363 F.3d 8, 12 (1st Cir. 2004). Particularly

       when resolution turns on "disputed issues presented by the experts’ analysis,” full

       development of the record is often necessary. Mallory v. Eyrich, 707 F. Supp. 947, 054

       (S.D. Ohio 1989). Unlike the usual §2 case here Defendants openly concede that they

       ignored the totality of circumstances.       Accordingly, a VRA violation should glow

       automatically from that failure.

              Defendants actions, the total failure to even consider race, renders both the 2021

       Senate and U.S. Congressional Plan invalid which warrants the issuance of a preliminary

       injunction. Support for this assertion is below.

              Defendants began the Redistricting process with an express declaration from lead

       map drawer Mr. Ray DiRossi, that Ohio’s legislative leadership instructed map drawers to

       not consider race. This unlawful policy has been followed by Defendants throughout the

       map drawing process and infects the Third Plan. See, Exhibit E, DiRossi, Deposition, pp.

       789-790.

              As recently as March 23, 2022, the Defendant Ohio Redistricting Commission

       reiterated its intention to craft new legislative districts without considering race and issued

       unlawful instructions to newly engaged experts to that effect. See, Item 9, Exhibit F, Rules

       issued to map drawers for 4th Round. Ironically, Defendants contend that federal law

       prohibits consideration of race. See, Exhibit F, Testimony of Mr. Huffman starting at

       01:19:25.” Federal law prohibits considerations of race …” Also see Testimony of Speaker

       Cupp, Exhibit C, 01:19:25. “No information like that has been submitted to the

       Commission.” Contrary to these statements the Simon Parties submitted “information like




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       that” to the Commission on multiple occasions, including on its initial day of hearings on

       August 23, 2021. Exhibit D. Simon Parties initial input.

              The Fourth Plan is defective and should not been maintained or otherwise utilized

       because it dilutes the voting power of the Simon Parties in violation of federal law.



          F. TEMPORARY RESTRAINING ORDER

              The Supreme Court has "long held that federal courts may in some circumstances

       grant injunctive relief against" state and federal officials "who are violating, or planning to

       violate, federal law." Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326-27

       (2015) (citing Osborn v. Bank of United States, 9 Wheat. 738, 838-39 (1824); Ex parte

       Young, 209 U.S. 123, 150-51 (1908); Am. Sch. of Magnetic Healing v. McAnnulty, 187

       U.S. 94, 110 (1902)). This power to enjoin unlawful "actions by state and federal officers

       is the creation of courts of equity, and reflects a long history of judicial review of illegal

       executive action, tracing back to England." Id. At 327. While Congress may prohibit courts

       from awarding such equitable relief, id. at 327-28, Congress need not confer the power to

       award such relief in order for courts to exercise that power: the power is an inherent aspect

       of the courts' equitable authority, see, e.g., Am. School of Magnetic Healing, 187 U.S. at

       110; see also Barry v. Lyon, No. 13-cv-13185, 2015 U.S. Dist. LEXIS 174347, at *5 (E.D.

       Mich. June 5, 2015); In re Trump, 928 F.3d 360, 373 (4th Cir. 2019); Int'l Refugee

       Assistance Project v. Trump, 883 F.3d 233, 287 (4th Cir. 2018) (en banc) (Gregory, J.,

       concurring); Sierra Club v. Trump, 929 F.3d 670, 694 (9th Cir. 2019); CNSP, Inc. v. City

       of Santa Fe, 755 F. App'x 845, 849 (10th Cir. 2019).

              Courts must balance "four factors ... when considering a motion for a temporary

       restraining order: (1) whether the movant has a strong likelihood of success on the merits;

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       (2) whether the movant would suffer irreparable injury without the injunction; (3) whether

       issuance of the injunction would cause substantial harm to others; and (4) whether the

       public interest would be served by issuance of the injunction." City of Pontiac Retired

       Emples. Ass'n v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014) (internal quotation marks

       omitted). The standard for a permanent injunction is identical, except that the movant must

       show "actual success on the merits" instead of a likelihood of success on the merits. Amoco

       Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 546 n.12 (1987). A permanent injunction is in

       place here via Armour. Defendants totally ignored Armour.

              The purpose of a temporary restraining order is "to prevent irreparable injury so as

       to preserve the court's ability to render a meaningful decision on the merits." United States

       v. Alabama, 791 F.2d 1450, 1459 (11th Cir. 1986) (affirming preliminary injunction). An

       injury is considered to be irreparable "if it cannot be undone through monetary remedies."

       Scott v. Roberts, 612 F.3d 1279, 1295 (11th Cir. 2010); Cunningham v. Adams, 808 F.2d

       815, 821 (11th Cir. 1987); see also Charles H. Wesley Educ. Found., Inc. v. Cox, 32*,

       Supp. 2d 1358, 1368 (N.D. Ga. 2004) (Cox I), aff'd, 408 F.3d 1349 (11th Cir. 2005) (Cox

       II) ("no monetary award can remedy the fact that [plaintiff] will not be permitted to vote in

       the precinct of her new residence."); see also United States v. Georgia, 892 F. Supp. 2d

       1367, 1377 (N.D. Ga. 2012) (entering a preliminary injunction where "the potential

       deprivation of the ability to vote, the most basic of American citizens' rights, outweigh[ed]

       the cost and inconvenience" that the state might suffer, which were comparatively minor).

              As explained below, injunctive relief is warranted, because all four elements

       strongly weigh in Plaintiffs' favor. Plaintiffs are likely to succeed on the merits. They will

       suffer irreparable harm if the 2022 elections are conducted using constitutionally infirm

       districts. The balance of hardships weighs in favor of Plaintiffs as well: Ohioan’s

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       fundamental right to vote would be infringed absent an injunction, outweighing any burden

       that Defendant might experience in complying with the requested injunction. The requested

       injunction would serve the public interest because protecting the right to vote is

       unquestionably in the public interest.

            1. PLAINTIFFS ARE LIKELY TO PREVAIL ON THE MERITS OF THEIR
               VRA CLAIM

               A claim of racial gerrymandering usually requires "a two-step analysis." Cooper v.

       Harris, 137 S. Ct. 1455, 1463 (2017). "First, the plaintiff must prove that 'race was the

       predominant factor motivating the legislature's decision to place a significant number of

       voters within -or without a particular district.'" Id. (quoting Miller v. Johnson, 515 U.S.

       900, 916 (1995)). "Second, if racial considerations predominated over others, the design of

       the district must withstand strict scrutiny. The burden thus shifts to the State to prove that

       its-race-based sorting of voters serves a 'compelling interest' and is 'narrowly tailored' to

       that end." Id. at 1464. A compelling interest may require racially gerrymandered Districts

       in order to comply with the Voting Rights Act. Here, whether the race required a given

       district structure was totally ignored. This act itself harmed Plaintiffs in light of the locales

       history, as documented in the Armour Opinion and in the subsequent history of Mahoning

       County that Defendants totally disregard.

            2. IRREPARABLE INJURY

               In the absence of the requested injunction, Plaintiffs will suffer irreparable harm.

       "An injury is irreparable 'if it cannot be undone through monetary remedies.'" Scott, 612

       F.3d at 1295 (quoting Cunningham v. Adams, 808 F.2d 815, 821 (11th Cir. 1987)).

       Recognizing this well-settled principle of law, courts considering motions for preliminary




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       injunctions have repeatedly found that state actions infringing on the right to vote constitute

       irreparable injury. See, e.g., Williams v Rhodes, 393 U.S. 23, 30 (1968).

              3. THE BALANCE OF THE EQUITIES WEIGHTS IN FAVOR OF
                PLAINTIFFS

               The irreparable injury that Plaintiffs will suffer absent an injunction outweighs any

       harm Defendant will suffer if the requested injunction is granted. Plaintiffs will suffer

       irreparable injury to their fundamental right to vote absent an injunction. See Williams v.

       Rhodes, 393 U.S. 23, 30 (1968) ("the right of qualified voters ... to cast their votes

       effectively ... rank[s] among our most precious freedoms."); see also Scott, 612 F.3d at

       1295 (citation omitted). By contrast, any potential harm Defendant would face under the

       requested injunction would be substantially less, particularly in light of the schedule this

       Court has set to avoid any interference with relevant pre-election deadlines.

               "If the currently existing status quo itself is causing one of the parties irreparable

       injury, it is necessary alter the situation so as to prevent the injury, either by returning to

       the last uncontested status quo between the parties, by the issuance of a mandatory

       injunction, or by allowing the parties to take proposed action that the court finds will

       minimize the irreparable injury." Fayette County, 118 F. Supp. 3d at 1349 (quoting Canal

       Auth. of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974)). Indeed, "once a State's

       legislative apportionment scheme has been found to be unconstitutional, it would be the

       unusual case in which a court would be justified in not taking appropriate action to insure

       [sic] that no further elections are conducted under the invalid plan." Reynolds, 377 U.S. at

       585.

              4. PUBLIC INTEREST




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               The Supreme Court has long recognized that "[t]he right to vote freely for the

       candidate of one's choice is of essence of a democratic society and any restrictions on that

       right strike at the heart of representative government." Reynolds, 377 U.S. at 555; see

       Williams v. Rhodes, 393 U.S. 23, 30 (1968) ("[T]he right of qualified voters…to cast their

       votes effectively ... rank[s] among our most precious freedoms."); Yick Wo v. Hopkins,

       118 U.S. 356, 370 (1886) (the right to vote is "preservative of all rights"). In recognition

       of this fundamental principle, courts have repeatedly held that an infringement on the right

       to vote constitutes irreparable injury. See, e.g., Dillard, 640 F. Supp. at 1363; Harris v.

       Graddick, 593 F. Supp. 128, 135 (M.D. Ala. 1984).

               The requested injunction would not be adverse to public interest. Plaintiffs and the

       citizens of Alabama have a fundamental right to "to cast their votes effectively." Williams

       v. Rhodes, 393 U.S. 23, 30 (1968) Additionally, "the protection of 'franchise-related rights

       is without question in the public interest,' and in such a situation, public interest is "best

       served by ensuring …that all citizens ... have an equal opportunity to elect the

       representatives of their choice." Fayette County, 118 F. Supp. 3d at 1349 (quoting x II, 408

       F.3d at 1355). Plaintiffs' requested injunction would protect their franchise-related rights

       by allowing them to participate in elections using conditionally drawn districts and ensure

       that citizens of have an equal opportunity to elect the representatives of their choice; thus,

       the requested injunction would be in the public interest. On the contrary, allowing the 2022

       election cycle to proceed with the racially gerrymandered map does not further any public

       interest.

               It is unfortunate that Defendants chose to ignore the VRA and make it necessary to

       revive evidence of past racial injustices in order to demonstrate why all Senate Report

       factors should have been considered by Defendants when drawing district lines.

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              Defendants decision to not consider the racial history of Blacks and voting in

       Mahoning County requires resort to the type analysis the VRA was designed to avoid.

              As stated in Gingles:

              The Senate Report states that one reason the Senate Committee abandoned
              the intent test was that

              "the Committee . . . heard persuasive testimony that the intent test is
              unnecessarily divisive because it involves charges of racism on the part of
              individual officials or entire communities."

              S.Rep. at 36. The Committee found the testimony of Dr. Arthur S.
              Flemming, Chairman of the United States Commission on Civil Rights,
              particularly persuasive. He testified:

              "[Under an intent test,] Mitigators representing excluded minorities will
              have to explore the motivations of individual council members, mayors, and
              other citizens. The question would be whether their decisions were
              motivated by invidious racial considerations. Such inquiries can only be
              divisive, threatening to destroy any existing racial progress in a community.
              It is the intent test, not the results test, that would make it necessary to brand
              individuals as racist in order to obtain judicial relief."

              Ibid. (footnote omitted). The grave threat to racial progress and harmony
              which Congress perceived from requiring proof that racism caused the
              adoption or maintenance of a challenged electoral mechanism is present to
              a much greater degree in the proposed requirement that plaintiffs
              demonstrate that racial animosity determined white voting patterns. Under
              the old intent test, plaintiffs might succeed by proving only that a limited
              number of elected officials were racist; under the new intent test, plaintiffs
              would be required to prove that most of the white community is racist in
              order to obtain judicial relief. It is difficult to imagine a more racially
              divisive requirement.

              A second reason Congress rejected the old intent test was that, in most cases,
              it placed an "inordinately difficult burden" on § 2 plaintiffs. Ibid. The new
              intent test would be equally, if not more, burdensome. In order to prove that
              a specific factor -- racial hostility -- determined white voters' ballots, it
              would be necessary to demonstrate that other potentially relevant causal
              factors, such as socioeconomic characteristics and candidate expenditures,
              do not correlate better than racial animosity with white voting behavior. As
              one commentator has explained:

              "Many of the[se] independent variables . . . would be all but impossible for
              a social scientist to operationalize as interval-level independent variables
              for use in a multiple regression equation, whether on a step-wise basis or

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              not. To conduct such an extensive statistical analysis as this implies,
              moreover, can become prohibitively expensive."

              "Compared to this sort of effort, proving discriminatory intent in the
              adoption of an at-large election system is both simple and inexpensive."

              Dilution Lawsuits, 28 How.L.J. 463, 492 (1985) (footnote omitted).

              The final and most dispositive reason the Senate Report repudiated the old
              intent test was that it "asks the wrong question." S.Rep. at 36. Amended § 2
              asks instead "whether minorities have equal access to the process of electing
              their representatives." Ibid.

              Focusing on the discriminatory intent of the voters, rather than the behavior
              of the voters, also asks the wrong question. All that matters under § 2 and
              under a functional theory of vote dilution is voter behavior, not its
              explanations. Moreover, as we have explained in detail, supra, requiring
              proof that racial considerations actually caused voter behavior will result --
              contrary to congressional intent -- in situations where a black minority that
              functionally has been totally excluded from the political process will be
              unable to establish a § 2 violation. The Senate Report's remark concerning
              the old intent test thus is pertinent to the new test: the requirement that a
              "court . . . make a separate . . . finding of intent, after accepting the proof of
              the factors involved in the White [v. Regester, 412 U. S. 755] analysis . . .
              [would] seriously clou[d] the prospects of eradicating the remaining
              instances of racial discrimination in American elections."

          G. SPECIAL MASTER

              The Simon Parties move under Fed. R. Civ. P. 53 for the appointment of a Special

       Master to complete the task of redistricting in a manner consistent with the Orders of the

       Ohio Supreme Court, the Ohio Constitution and the VRA, measures that Defendants have

       elected to intentionally ignore. The state is not entitled to multiple opportunities to remedy

       its unconstitutional districts. See, Reynolds v. Sims, 377 U.S. 533, 585-87 (1964)

       (affirming remedial districting map drawn by a district court after district court found state

       legislature’s first proposed remedial map failed to remedy constitutional violation).

       Additionally, the fast approaching election deadlines necessitates an expedited schedule.

       In light of the need for an expedited schedule, the multiple opportunities for Defendants to



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       approve lawful plans, and the fact experts have been engaged by Defendants to draft lawful

       plans, this Court should assume control of the process recently established by the State by

       appointing the experts the State has engaged and paid as Special Masters. The Sixth Circuit

       has also made two mediators available. It is comparable to the approach followed in

       similar cases. See Order, Personhuballah v. Alcorn, No. 3:13-cv-678, Doc. No. 241 (E.D.

       Va. Sept. 25, 2015) (appointing special master approximately three weeks after first

       notifying parties of its intent to appoint to appoint special master); see also Order,

       Personhuballah v. Alcorn, No. 3:13-cv-678, Doc. No. 207 (E.D. Va. Sept. 3, 2015)

       (notifying parties of intent to appoint special master). In view of upcoming elections and

       upon consideration of the technical nature of determining an appropriate remedy when

       district lines are at issue, exceptional circumstances exist for appointment of a Special

       Master pursuant to Federal Rule of Civil Procedure 53. The Special Master should assist

       the Court in further evaluating and redrawing the Subject Districts by developing an

       appropriate plan remedying the constitutional violations that render the present Districts

       legally unacceptable.

          H. CONCLUSION

              For the above reasons, partial summary judgment should be entered in favor of

       Plaintiffs and a temporary restraining order issued and a special master appointed.

              A proposed order and Exhibits are attached.




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                                                    /s/ Percy Squire_________________
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                                    CERTIFICATE OF SERVICE

              The undersigned hereby certifies that a copy of the foregoing was served by

       operation of the United States District Court, Southern District of Ohio electronic filing

       system, on March 29, 2022.


                                                    s/Percy Squire, Esq.
                                                    Percy Squire (0022010)
                                                    Attorney for Intervenors-Plaintiffs




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                                       EXHIBIT LIST

          EXHIBIT A.      Ohio Redistricting Commission March 28 General Assembly

          EXHIBIT B.      Ohio General Assembly Congressional Redistricting Plan

          EXHIBIT C.      Armour v. State of Ohio, 775 F. Supp. 1044 (N.D. Ohio 1991)

          EXHIBIT D.      Plaintiffs Input to Defendants During Redistricting Process

          EXHIBIT E.      DiRossi Deposition Transcript

          EXHIBIT F.       Testimony of President Huffman and Speaker Cupp at March 23,
            2022 Redistrict Commission Meeting and Item 9 Redistricting Rules




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